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                   8
                   9                            UNITED STATES DISTRICT COURT
                  10                           CENTRAL DISTRICT OF CALIFORNIA
                  11                                   EASTERN DIVISION
                  12 CARTER BRYANT, an individual,              CASE NO. CV 04-9049 SGL (RNBx)
                  13              Plaintiff,                    Consolidated with
                                                                CV 04-09059
                  14        vs.                                 CV 05-2727
                  15 MATTEL, INC., a Delaware                   [CORRECTED] [PUBLIC
                     corporation,                               REDACTED] DECLARATION OF
                  16                                            DIANE C. HUTNYAN IN
                           Defendant.                           SUPPORT OF MATTEL, INC.'S
                  17                                            MOTION FOR A PERMANENT
                                                                INJUNCTION
                  18
                       AND CONSOLIDATED ACTIONS                 Date: November 10, 2008
                  19                                            Time: 1:00 p.m.
                                                                Place: Courtroom 1
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                                          DECLARATION OF DIANEC.HUTNYAN
                              I, Diane C. Hutnyan, declare as follows:
                              1.    I am a member of the bar of the State of California and a partner with
                       Quinn Emanuel Urquhart Oliver & Hedges, LLP, attorneys for Mattel, Inc. I make
                       this declaration of personal, firsthand knowledge, and if called and sworn as a
                       witness, I could and would testify competently hereto.
                                                Mattel Owns The Bratz Copyrights
Attached as Exhibit
               2.   1 is a true and correct copy of the Phase 1(a) Final
                       Verdict Form. In Phase 1(a) of the trial, the jury found that while he was employed
                       by Mattel, Carter Bryant created numerous two-dimensional designs, as well as a
                       three-dimensional sculpture, upon which the Bratz dolls and other products have
                       been based. See Hutnyan Decl. Ex. 1 (Phase 1(a) Verdict Form) at 1-5.
                             3.     Attached as Exhibit 2 is true and correct copy of the Order Regarding
                       Partial Summary Judgment, dated April 25, 2008. This Court previously granted
                       summary judgment in favor of Mattel on the "issue of ... applicability of the
                       Inventions Agreement to any Bratz-related 'inventions' (including any designs,
                       improvements, ideas, concepts, and copyrightable subject matter) that he is found to
                       have created during the period of his employment with Mattel."). Hutnyan Decl.
                       Ex. 2. (April 25, 2008 Order re: Partial S.J.) at 5.
                             4.     Mattel has registered all works that it was found to own under the
                       Phase 1(a) Verdict with the United States Copyright Office. See infra Hutnyan
                       Decl, Exhs. 95 -122.
                  23                  MGA, MGA Hong Kong and Isaac Larian Infringed
                  24                                 Mattel's Bratz Copyrights
In Phase
     25  1(b)
           5. of the trial, the jury determined that MGA, MGA Hong
                  26 Kong, and Isaac Larian infringed Mattel's copyrights. Attached as Exhibit 3 is a
                  27 true and correct copy of the Phase 1(b) Final Verdict Form.
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Attached as Exhibit
               6. 4 is a true and correct copy of the Phase 1(b) Jury
                       Instructions as given.
                                                  Bratz Products on the Market
                              7.     Since June 2001, when the Bratz dolls first arrived on the market,
                       MGA has released at least 597 Bratz dolls, Attached as Exhibit 5 is a true and
                       correct copy of Trial Exhibit ("TX") 660, a list of Bratz sales dated 2001-2006.
                   7          8.    Attached as Exhibit 6 is a true and correct copy of a list of Bratz sales
                   8 by SKU numbers for 2007.
                   9         9.     Attached as Exhibit 7 is a true and correct copy of a list of Bratz sales
                  10 by SKU numbers for 2008.
                  11          10.   According to Exhibits 5-7, there are at least 597 Bratz doll SKUs from
                       2001 through 2008. See Ex. 5, 6 and 7. There are dozens of characters beyond the
                       original four of Cloe, Sasha, Yasmin and Jade, including Ciara, Dana, Diona,
                       Felicia, Fianna, Katia, Kiana, Krysta, Kumi, Lana, Leah, Lela, Lilee, Liliana, Lina,
                       Maribel, Meygan, Nevaeh, Nevra, Nona, Nora, Oriana, Peyton, Phoebe, Roxxi,
                       Sasha, Sharidan, Sierrna, Sorya, Sunya, Tess, Tiana, Trinity, Vinessa, and
                       Valentina. Id.
                              11.   Many of the characters appear in several products. For example, there
                       is a "Sleepin' Style Meygan," a "Wild Wild West Meygan," a "Costume Party
                       Wicked Witch Meygan," and a "Play Girlfriendz Meygan." Id.
                                                  The Core Bratz Fashion Dolls
                                           Use The Same Head, Face and Body Sculpt
                              12.   Leon Djiguerian testif ed that he held a series of design positions at
                       MGA over the last eight years and is currently the Bratz brand manager. See Trial
                       Tr. 7201:19-7202:3. He testified that he had specif c knowledge of the sculpts
                       developed at MGA for the Bratz dolls over the last eight years. See Trial Tr.
                       7202:4-11. Mr. Dj iguerian stated that all the Bratz fashion dolls, not just the


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                      characters of Cloe, Sasha, Yasmin and Jade, are made with the same sculpt. See
                      Trial Tr. 7220:1-20.
                             13.   Lui Domingo, a senior designer at MGA, testif ed that while he
                      "designs" fashions and accessories for the dolls, the sculpt used is still the "core
                      Bratz fashion doll sculpt." See Trial Tr. 7246:19-23 ("Q: And we've talked about
                      how you designed the Tokyo a Go-Go doll and designed the Nighty-Nite doll.
                      When you designed that doll, is it correct that you're working with a sculpt that is
                      the core Bratz fashion doll sculpt? A. Correct."); 7220:16-20 ("Q: There are a
                      number of names associated with these core fashion dolls, correct? A: Correct. Q:
                      Not just Sasha, Yasmin, Cloe. And I missed one, but Meegan 9(sic) and other
                      names, correct? A: Yes. Q: And they are all made with the same sculpt? A:
                      Yes.").
                             14.   Ninette Pembleton, MGA's Vice President of Operations, testif ed as
                      MGA's designee about MGA's Bratz products. She testified that could not identify
                      any changes to the head and body of the Bratz dolls over time. See Trial Tr. 5784:9-
                      5785:8 ("Q: So as far as you know, those of the head and the dolls -- the head and
                      the body for all those fashion dolls, all the different generations, the new characters,
                      so far as you know, it's all been the same and has never changed from the
                      beginning? A: I don't know otherwise.")
                             15.   Attached as Exhibit 8 is a true and correct copy of excerpts from a
                      hearing transcript in the above-captioned case, dated August 8, 2008. MGA's
                      counsel, Carl Roth, acknowledged that the sculpt never changed. "What has
                      remained unchanged is the sculpt, generally speaking." Hutnyan Decl., Ex. 4
                      (Argument by Carl Roth, August 8, 2008) at 6540:13-15.
                             16.   Attached as Exhibit 9 is a true and correct copy of excerpts from the
                      deposition testimony of Peter Menell, dated April 1, 2008, Peter Menell testif ed as
                  27 one of MGA's litigation consultants. He explained that in performing his analysis of
                  28 the body features of the Bratz dolls, he needed only analyze one doll because "the
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                        sculpt is the same for all the dolls.... I only have to do the one doll." Hutnyan
                        Decl. Ex. 9 (Menell Dep. Tr.) at 125:6-21.
                               17.    Attached as Exhibit 10 is a true and correct copy of a Wall Street
                        Journal article written by Nicholas Casey, entitled "Bratz Dolls Begin To Show
                        Their Age" and dated September 22, 2008. According to the article, MGA's CEO,
                    6 Isaac Larian, stated that when MGA began this year to standardize the dolls'
                    7 clothing and accessories, "[t]hey had become the same doll with different names."
                    8          18.    Attached as Exhibit 11 is a true and correct copy of TX 5-88. TX 5-88
                        is a Bratz sculpt drawing that Mattel owns. See Hutnyan Decl. Ex. 1 (Phase 1(a)
                        Verdict Form) at 1. Carter Bryant testified that he gave it to the sculptor, Margaret
                        Leahy, to guide her as to what the Bratz sculpt should look like. See Trial Tr.
                        2561:22-2563:16; see also Trial Tr. 2567:23-25.
                               19.   Attached as Exhibit 15 0 is a true and correct copy of excerpts from the
                        deposition of Margaret Leahy, dated December 12, 2007.
                              20.    Attached as Exhibit 146 is a true and correct copy of excerpts of the
                        deposition transcript of Paula Garcia, dated May 25, 2007.
                              21.    Attached as Exhibit 12 is a true and correct copy of Mattel's copyright
                        registration VAu 715-270 for the drawing identified as TX 5-88.
                              22,    Attached as Exhibit 132 is a true and correct copy of MGA's Form CA
                        for the Bratz movie doll sculpt, which is TX 577.
                              23.    Attached as Exhibit 133 is a true and correct copy of MGA's copyright
                        registration VA 1-148-305, which is TX 565.
                              24.    Attached as Exhibit 151 is a true and correct copy of a photograph of a
                        Bratz movie sculpt.
                                           MGA's Admissions Regarding Infringement
                              25.    Attached as Exhibit 13 is a true and correct copy of TX 13520, MGA's
                        Business Plan, dated March 2001. As MGA stated in its business plan, "[t]he
                        Bratz[] are unique in many ways; their eyes are big with a hint of anime style; their
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                      lips are more pronounced, their feet and heads are oversized." See Hutnyan Decl.
                      Ex. 13 at 15.
                             26.      At trial, Carter Bryant identified the lips and eyes of the Bratz dolls as
                      "distinctive" and acknowledged that these features were reflected in his drawings.
                      Trial Tr. 6664:14-6665:7. Mr. Bryant also testified that all the Bratz dolls had an
                      "overall similar appearance." See Trial Tr. 6669:11-23.
                            27.       Margaret Hatch Leahy, the Bratz sculptor, testified that "Bryant's
                      drawings have the factors that MGA say[s] are unique to the dolls, which is the
                      oversized eyes, protrusive lips, and the diminished nose." Trial Tr. 6847:22-6848:1.
                            28.       Attached as Exhibit 14 is a true and correct copy of TX 13691, the
                      Affirmation of Lee Shiu Cheung In the High Court of the Hong Kong Special
                      Administration Region Court of First Instance, Civil Action No..1883 of 2003,
                      between MGA Entertainment, Inc., MGA Entertainment (H.K) Ltd., and Double
                      Grand Corp. Ltd. ("Double Grand'), dated June 18, 2003. In it, MGA states that
                      "Bratz is popular because of its unique funky and sassy image." See Hutnyan Decl.
                      Ex. 14. MGA also states that "the facial decorations and features of the [Bratz]
                      dolls are unique..." Id.
                            29.       MGA's CEO, Isaac Larian, and Vice President of Product Design and
                      Development, Paula Garcia, together testified at least 18 times at trial that Carter
                      Bryant's drawings were the "inspiration" for the Bratz dolls. See Trial Tr, (Larian)
                      1649:12-17; 1654:4-6; 1654:12-14 ("Carter Bryant was one of the inventors of Bratz
                      because the drawings that he did became the inspiration for Bratz."); 1656:21-23;
                      1664:5-9; 1700:19-24; 1749:10-14; 1750:22-1751:2 ("the drawings that Carter
                      Bryant showed us are absolutely the inspiration for the Bratz."); 1856:13-14;
                      1860:3-6; 6096:11-17; 6100:3-8; 6115:7-11; 6116:11--16; 6126:20-25; 6171:25-
                      6172:1; 6172:5-17; Trial Tr. (Garcia) 6868:3-7.
                            30.    On at least four occasions at trial, MGA's counsel stated that Mr.
                      Bryant's drawings inspired Bratz: "Mr. Bryant's drawings were the inspiration for
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                      Bratz." See Trial Tr. 5518:10-11; see also Trial Tr. 4901:23--25; 5552:6-9; 5553:10-
                      14. MGA's counsel also referred to the Bratz drawings as being "for Bratz" -- the
                      "original concept drawings for the Bratz." See Trial Tr. 4943:13-16.
                             31.   In May 2001, Ms. Garcia said in an e-mail interview that "[t]he four
                      girls were already concepted when presented by the inventor during our first
                      meeting. I thought they were incredible, and I tried to stay true to this
                      inventor/creator's vision." Attached as Exhibit 15 is a true and correct copy of TX
                      10001, an e-mail between Paula Garcia and Haynes Peterson, dated May 1, 2001.
                      At trial, Ms. Garcia testified regarding this statement:
                            I was referring to the four characters, and I wanted to stay -- this was in
                            reference to Carter Bryant's characters in the portfolio drawings. I wanted --
                            because certainly there were things in that portfolio that I loved very much,
                            and we talked about that there were some that I was concerned about. And it
                            was, you know, it was for me to say I tried to stay true to this inventor's
                            vision. Meaning, you know, I tried to do -- wherever it felt comfortable
                            without me feeling that it was going to impose on the success of Bratz, I tried
                            to stay true to his vision. See Trial Tr. (Garcia) 994:20-995:8.
                            32.    Ms Garcia also testified that she "absolutely loved Carter Bryant's
                      overall vision and concept of four multi-ethnic individual fashionable girls." See
                      Trial Tr. (Garcia) at 7092:13-23. She acknowledged that the idea of "hip, edgy
                      characters" came from Bryant's Bratz drawings. See Trial Tr. (Garcia) at 6868:3-7.
                                        In Prior Infringement Actions, MGA Admitted
                          That the Bratz Dolls Are Based On Bryant Drawings Owned By Mattel
                            33.    Attached hereto as Exhibit 16 is a true and correct copy of relevant
                      excerpts of TX 13738, the complaint MGA fled in MGA Entertainment, Inc. v.
                      Multitoy, Inc. ("Multitoy"), dated April 12, 2004.
                            34.    In Multitoy, MGA stated that the Bratz dolls are three-dimensional
                      depictions of the Bratz drawings:
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                   1                "In 2001, Plaintiff introduced a new line of fashion dolls known
                   2                as the "BRATZ" ... which are three-dimensional depictions of
                   3                the BRATZ Characters (Hereinafter the "BRATZ Dolls"). See
                                    Hutnyan Decl. Ex. 16, (TX 13738-002-3) at ¶ 5 (emphasis
                                    added).
                             35.    MGA stated in Multitoy that the "BRATZ Characters" "include, but are
                       not limited to, 'floe,' 'Jade,' Sasha,' 'Yasmin,' 'Meygan,"' and attached as Exhibit 1 to
                       its Complaint "true and correct copies of exemplars of the BRATZ Characters, in
                       the form of selected pages from Plaintiffs copyrighted BRATZ Purse Style Guide."
                       See Hutnyan Decl. Ex. 16 (TX-13738-002) at ¶ 3.
                             36.    The selected pages of the BRATZ Purse Style Guide which MGA
                       attached as Exhibit 1, are two-dimensional Bratz drawings. See Hutnyan Decl. Ex.
                       16 (TX-13738-030).
                             37.    Attached as Exhibit 17 is a true and correct copy of TX 574, MGA's
                       copyright registration VA 1-233-273 for the BRATZ Purse Style Guide. MGA
                       stated in this registration that the BRATZ Purse Style Guide is derivative of
                       "preexisting artwork including Reg Nos VA 1 218-487 VA 1 218 488 VA 1 218 489
                       VA 1 218 490 VA 1 218 491." See Hutnyan Decl. Ex. 17 (TX 574-002).
                             38.    VA 1 218-487, VA 1-218 .488, VA 1 218-489, VA 1-218-490 and VA
                       1-218-491 are MGA's registrations for original Bryant drawings the jury has found
                       that Mattel owns. See VA 1 218-487, VA 1-218-488, VA 1 218-489, VA 1-218-
                       490, and VA 1-218-491, true and correct copies of which are attached as Hutnyan
                       Decl. Exs. 18, 19, 20, 21, and 66 (TX 505, 507, 509, 513, and 511).
                             39.    Attached as Exhibit 22 is a true and correct copy of relevant excerpts of
                       TX 10234, MGA's Statement of Claim In the High Court of the Hong Kong Special
                       Administration Region Court of First Instance, Civil Action No. 3856 of 2003,
                       between MGA Entertainment, Inc and Uni-Fortune Toys Industrial, Ltd. and Fu Wei
                       Toys Co. Ltd. ("Uni-Fortune"), dated October 16, 2003.
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                            40.    MGA stated in Uni-Fortune that the "Glitter Girls" are "reproductions
                      of or a reproduction of a substantial part of the said Artistic Works," which MGA
                      defined as including Bryant's original Bratz design drawings. See Hutnyan Decl.
                      Ex. 22.
                            41.    Attached as Exhibits 23, 24, and 25 are true and correct copies of TX
                      13865, TX 13866, and TX 13868, photographs of the "Glitter Girls" Dolls.
                            42.    Attached as Exhibit 26 is a true and correct copy of TX 13572, MGA's
                      Answer to Requests for Further and Better Particulars of the Statement of Claim in
                      the Uni-Fortune action, dated December 12, 2003. MGA admitted in this Answer
                      that each of the Bratz "Artistic Works" were based on Bryant's design drawings:
                                   "[T]here was no antecedent designs, products, drawings or
                                  articles from which the artistic works referred to in sub-
                                  paragraphs (a), (b) (c), (d), (e) and (f) of the Particulars of the
                                  Original Artistic were derived. The author of the artistic works
                                  pleaded in sub-paragraphs (b), (d), (e) and (f) of the Particulars
                                  of Original Works referred to the drawings in sub-paragraph (a)
                                  of the Particulars of Original Works. The silicon rubber moulds
                                  in sub-paragraph (c) were developed from the wax models in
                                  sub-paragraph (b) of the Particulars of Original Works. The
                                  polyurethane samples in sub-paragraph (c) were developed from
                                  the rubber moulds." See Hutnyan Decl. Ex. 26 (TX 13572-001-
                                  002).
                            43.   Attached as Exhibit 27 is a true and correct copy of relevant excerpts of
                      TX 13690, MGA's Amended Statement of Claim in the Double Grand action, dated
                      October 4, 2004.
                            44.   In Double Grand, MGA claimed that the "Mini Trendy Teenz,"

                      "Trendy Teenz, " RockerHeadz Bobblehead Fashion Dolls," and "RockerHeadz
                      Fashion Doll Bobble Pen" were "reproductions of or a reproduction of a substantial
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                       part of the said Artistic Works," which MGA defined as including Bryant's original
                       Bratz design drawings. See Hutnyan Decl. Ex. 27 (TX 13690-0002, 0005) at ¶¶ 3,
                       4.
                             45.    Attached as Exhibit 28 is a true and correct copy of relevant excerpts of
                       TX 13561, the Affirmation of Raymond David Black, dated June 13, 2003, which
                      Mr. Black submitted on MGA's behalf in the Double Grand action.
                             46.   Mr. Black's Affirmation attaches photographs of the "Mini Trendy
                      Teenz," "Trendy Teenz," "Rocker Headz Fashion Doll Bobble Pen," and "Rocker
                      Headz Bobble Head Fashion Dolls" at TX 13561-0029-31, 0120-122, 0124-125,
                      0194, 0208, 0210, 0278, 0280. See Hutnyan Decl. Ex. 28.
                             47.   Mr. Black's Affirmation also includes a cease and desist letter that
                      MGA sent on March 7, 2003 regarding the "Mini Trendy Teenz." See Hutnyan
                      Decl. Ex. 28 (TX 13561-0022-23). In this letter, MGA stated:
                                   "We consider that the MINI TRENDY TEENZ dolls infringe
                                   such rights, due to their overwhelming similarity to the Designs .
                                   .. In particular, we draw your attention to the following, which
                                   are identical or extremely similar in both the Registered Designs
                                   and MINI TRENDY TEENZ dolls:
                                   (a) The shape of each doll's head;
                                   (b) The size of each doll's head in comparison with the
                                   remainder of the doll;
                                   (c) The shape and size of the nose;
                                   (d) the shape of the eyes;
                                   (e) the shape of the lips;
                                   (f) the unusual size of each doll's feet in comparison with the
                                   remainder of the doll.
                                   We also consider that the MINI TRENDY TEENZ dolls infringe
                                   our client's copyright in the surface decoration of the BRATZ
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                    1               dolls. We enclose coloured copies of the original drawings and
                    2               would draw your attention in particular to:
                    3               (a) the eyelashes of both BRATZ and MINI TRENDY TEENZ
                    4               dolls, in particular the three distinct lashes above the eye;
                    5               (b) the two-tone eye shadow used on both BRATZ and MINI
                    6               TRENDY TEENZ dolls, both in style, shape and colour;
                    7               (c) the shape of the eyes after being "made up" with mascara and
                                    eye shadow, of BRATZ and MINI TRENDY TEENZ dolls; and
                                    (d) the shape of the lips when painted with "lipstick" of BRATZ
                                    and MINI TRENDY TEENZ dolls, and the use of a lipliner
                                    (slightly darker in colour than the colour used on the lips) on
                                    both dolls." See Hutnyan Decl. Ex. 28 (TX 13561-22-23, 0067-
                                    81) (attaching the referenced "original drawings").
                              48.   Attached as Exhibits 29, 30, and 31 are true and correct copies of TX
                        13696, 13698, 13700, photographs of the "Mini Trendy Teenz."
                              49.   Mr. Lee's Affirmation in the Double Grand action, attaches another
                        cease and desist Ietter from MGA to Double Grand, dated May 6, 2003, in which
                        MGA claimed that the "Trendy Teenz Dolls," "Mini Trendy Teenz Dolls," "Rocker
                        Headz Fashion Doll Bobble Pen," and "Rocker Headz Bobblehead Fashion Dolls"
                        were "substantially similar to MGA's Bratz Dolls" and infringed "MGA's copyright
                        in the designs and drawings of the Bratz Dolls." See Hutnyan Decl. Ex. 14 (TX
                        13691-0142).
                  23          50.   Mr. Lee claimed in his Aff rmation that "the facial decoration of the
                  24 ['Mini Trendy Teenz'] doll head is a reproduction of the facial decoration of Cloe,"
                  25 and that the "Trendy Teenz, Rocker Headz Bobblehead Fashion Dolls and Rocker
                  26 Headz Fashion Doll Bobble Pen have copied Bratz image in particular the eyes and
                  27 lips." Ex. 14 at TX 13691-0013-14, ¶¶ 35, 37ii.
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                                    51.    Mr. Lee also declared that the Bratz facial decorations were based on
                              Bryant's original design drawings. Id. at TX 13691-0007, 0028-42, 0049-0073
                              (attaching the Bratz facial decorations and Bryant's original design drawings).
                                    52.    Attached as Exhibit 32 is a true and correct copy of relevant excerpts of
                              TX 13 693, the Third Affirmation of Lee Shiu Cheung, dated July 14, 2003.
                                    53.    In his Third Affirmation, Mr. Lee declared that the snap-on shoes
                              feature of the Bratz doll came from one of Bryant's initial Bratz drawings. See
                              Hutnyan Decl. Ex. 32 (TX 13693-008) at ¶ 16; see also Hutnyan Decl. Ex. 14 (TX
                              13691-0028-42) (LSC-3 of Lee's First Affirmation).
                                    54.   Attached as Exhibit 33 is a true and correct copy of relevant excerpts of
                              TX 13705, MGA's Statement of Claim In the High Court of the Hong Kong Special
                             Administration Region Court of First Instance, Civil Action No. 2152 of 2002,
                              between ABC International Traders Inc. doing business as MGA Entertainment, Inc.
                             and Toys & Trends (HK), Ltd., Cityworld Ltd. and Jurg Willi Kisselring
                              ("Cityworld') dated July 3, 2002.
                                    55.   MGA claimed in Cityworld that the "Funky Tweenz" dolls "are
                             reproductions of or a reproduction of a substantial part of the said Artistic Works,"
                             which MGA defined as "17 initial concept and design drawings of the BRATZ dolls
                             made by Mr. Bryant." See Hutnyan Decl. Ex. 33 (TX 13705-0002-0003) at ¶¶ 3, 4.
                                    56.   Attached as Exhibit 34 is a true and correct copy of relevant excerpts of
                             TX 12, the Affidavit of Isaac Larian in Cityworld, dated July 5, 2002. Mr Larian
                             stated in his Affidavit that "[t]he complaint made by MGA is that the 3 dimensional
                             Funky Tweenz dolls have infringed the 2 dimensional drawings which are artistic
                             works in which copyright subsists." See Hutnyan Decl. 34 (TX 12) at ¶ 12.
                                    57.   Attached as Exhibit 35 is a true and correct copy of relevant excerpts of
                             TX 13707, the Aff rmation of Lee Shiu Cheung in Cityworld, dated June 18, 2002.
                                    58.   Mr. Lee's Affirmation attaches the 17 Bratz design drawings referenced
                             in MGA's Statement of Claim, as well as images of the "Funky Tweenz." See
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                       Hutnyan Decl. Ex. 35 (TX 13707-003 at ¶ 7, 0015-32, 0091-00105, 00113, 116,
                       119).
                               59.    Attached as Exhibit 36 is a true and correct copy of TX 13709, a
                      photograph of a "Funky Tweenz" doll.
                               60.    Attached as Exhibit 37 is a true and correct copy of relevant excerpts of
                      TX 13784, MGA's Statement of Claim In the High Court of the Hong Kong Special
                      Administration Region Court of First Instance, Civil Action No. 2687 of 2003,
                      between MGA Entertainment, Inc. and Hunglam Toys Co. Ltd. ("Hunglam"), dated
                      November 3, 2003.
                               61.    MGA stated in Hunglam that the "head sculpt and facial decoration" of
                      the "fashion dolls known as Scampz" "are reproductions of or a reproduction of a
                      substantial part of the Artistic Works." See Hutnyan Decl. Ex. 37 (TX 13784-004)
                      at ¶ 4. MGA's Statement of Claim def nes "Artistic Works" to include the facial
                      decoration of the Bratz fashion dolls. Id. at TX 13784-002.
                               62.    Attached as Exhibit 38 is a true and correct copy of relevant excerpts of
                      TX 13718, the Affirmation of Lee Shiu Cheung in the Hunglam action, dated
                      August 12, 2003. Mr. Lee's Aff rmation attaches as Exhibit LSC-8 the facial
                      decorations referenced in MGA's Statement of Claim. See Hutnyan Decl. Ex. 38
                      (TX 13 718-0060-84).
                               63.    Mr. Lee declared in this Affirmation that these facial decorations were
                      based on Bryant's Bratz concept drawings. See Hutnyan Deci. Ex. 38 (TX 13718-
                      006) at ¶ 14.
                               64.    Bryant's Bratz concept drawings are attached as Exhibit LSC-3 to Mr.
                      Lee's Affirmation. Id. at TX 13718-0034-52.
                               65.    Mr. Lee also declared in his Affirmation that the "Scampz" doll is a
                      "slavish copy of the BRATZ dolls," that "all the prominent features of the BRATZ
                      dolls are present in the SCAMPZ dolls including in particular the oversized head,
                      eyes and lips and the diminished nose," and that the "Scampz" have "copied the
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                       head sculpt and the facial decoration of the Bratz dolls," Id. at TX 13718-0016-17,
                       ¶¶ 40, 41, 43.
                             66.    Attached as Exhibit 39 is a true and correct copy of relevant excerpts of
                       TX 13856, the Witness Statement of Sanjay Vaswani in the Hunglam action, dated
                       December 15, 2005. Mr. Vaswani attached as Exhibits SV-8(a)-(f) to his Witness
                       Statement photographs of the "Scampz" dolls at issue. See Hutnyan Decl. Ex. 39
                       (TX 13856-009, 033-038).
                             67.    Attached as Exhibits 40 and 41 are true and correct copies of TX 13722
                       and TX 13867, photographs of the "Scampz" dolls.
                             68.    Attached as Exhibit 42 is a true and correct copy of relevant excerpts of
                       TX 13785, MGA's Statement of Claim In the High Court of the Hong Kong Special
                       Administration Region Court of First Instance, Civil Action No. 3242 of 2003,
                       between MGA Entertainment, Inc. and Union Top (HK) Ltd. ("Union Top"), dated
                       September 2003.
                             69.    In Union Top, MGA claimed that the "Fashion Dolls" "are infringing
                       copies of the Copyright Works" and "were slavish copies of the BRATZ dolls." See
                       Hutnyan Decl. Ex. 42 (TX 13785-007, 0011) at ¶¶ 7, 8(h).
                              70.   MGA defined the "Copyright Works" as including "drawings made by
                       Carter Bryant between 1998 and 2000." Id. at TX 13785-003-4.
                              71.   Attached as Exhibit 43 is a true and correct copy of relevant excerpts of
                       TX 13725, the Affirmation of Lee Shiu Cheung in the Union Top action, dated
                       August 2003.
                              72.   Mr. Lee attached as Exhibit LSC-17 to his Affirmation photographs of
                       the "Fashion Dolls." See Hutnyan Decl. Ex. 43 (TX 13725-0175-208),
                              73.   Mr. Lee declared in this Affirmation that the "Fashion Dolls" are
                       "slavish copies" of the Bratz:
                  27                "I have looked at the "Fashion Dolls" closely from the
                  28                photographs and the videotape exhibited hereinabove and find
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                        1               that it is a slavish copy of the BRATZ dolls and is a clear
                        2                infringement of the Plaintiff's copyright in the works relating to
                        3               BRATZ. In particular, I would draw attention to the following
                        4                features in the `Fashion Doll', namely:
                        5               (a) The oversized head;
                        6               (b) The facial decoration;
                        7               (c) The oversized eyes;
                        8               (d) The diminished nose;
                        9               (e) The protrusive and defined mouth;
                                        (f) The multi-coloured make-up;
                                        (g) The few and exaggerated eyelashes;
                                        (h) The two-toned lipstick;
                                        (i) The disproportionately large feet and shoes;
                                        (j) The snap-on shoes." Id. at (TX 13725-0018-19, ¶ 42).
                                  74.   Mr. Lee further declared that the "Fashion Dolls" copied the head
                            sculpt and facial decoration of the Bratz dolls. Id. at TX 13725-0019-0020 at ¶¶ 43-
                            45.
                                  75.   Mr. Lee's Affirmation attaches as Exhibit LSC-8 the Bratz facial
                            decorations MGA claims were copied in the Hunglam action. Id. at TX 13725-
                            0045-69.
                                  76.   Mr. Lee declared in this Aff rmation that these facial decorations are
                            based off Bryant's initial Bratz design drawings. Id, at TX 13725-007, ¶15.
                                  77.   Attached as Exhibit 44 is a true and correct copy of relevant excerpts of
                            TX 13743, the Affirmation of Lee Shiu Cheung In the High Court of the Hong Kong
                            Special Administration Region Court of First Instance, Civil Action No. 46 of 2004,
                            between MGA Entertainment, Inc. and Wai Man International (HK) Ltd. (" Wai
                            Man"), dated January 13, 2004.


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                              78.     Mr. Lee declared in this Affirmation that the "Twin Sisters" bear "a
                       striking resemblance" to the Bratz and that they are "obviously slavish copies of the
                       head sculpt and facial decorations" of Bratz. See Hutnyan Decl. Ex. 44 (TX 13743 -
                       0013-15) at ¶¶ 32, 35-38.
                              79.     Mr. Lee declared in this Affirmation that the Bratz facial decorations
                       are based off Bryant's Bratz concept drawings. Id. at TX 13743-007, ¶ 15.
                   7          80.     Mr. Lee's Affirmation attaches as Exhibit LSC-2I photographs of the
                       "Twin Sisters." Id. at TX 13743-00142-145.
                              81.     Attached as Exhibit 45 is a true and correct copy of relevant excerpts of
                       TX 13742, the Affirmation of Lam Yuen Chak in Wai Man, dated January 13, 2004.
                       Mr. Lam's Affirmation attaches as Exhibit LYC-4 a photograph of the "Twin
                       Sisters." See Hutnyan Decl. Ex. 45 (TX 13742-004, 14-15).
                              82.     Mr. Larian testif ed at trial that MGA had support for its allegations of
                       copying or reproduction in other litigation. He admitted that MGA would not allege
                       that other companies had knocked off Bratz unless MGA had supporting evidence
                       for those allegations. Trial Tr. 6271:24-6272:11.
                             83.     At trial, Mr. Larian was asked to compare the Nevra doll and the Mini
                       Trendy Teenz to the original Bratz dolls. See Trial Tr. (Larian) 6156:10-6158:9.
                       Mr. Larian stated that the Nevra doll used the core Bratz production sculpt that was
                       used for the other Bratz dolls and that it was more similar to the Bratz dolls than the
                       Mini Trendy Teenz was. See Trial Tr. 6156:10-6158:9; Trial Tr. 6159:13-18.
                                         MGA Represented to the Copyright Office That
                                    Bratz Are Based on the Bryant Drawings Owned by Mattel
                             84.     Attached as Exhibit 46 is true and correct copy of MGA's copyright
                       registration VA 1-090-289, which is TX 561.
                             85.     Attached as Exhibit 47 is true and correct copy of MGA's Form CA 1-
                       301-535, which is TX 562.


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                             86.    MGA represented to the U.S. Copyright Office that the original Bratz
                       Cloe doll was a derivative of one of Bryant's original Bratz Cloe drawings. See
                       Hutnyan Decl. Exhs. 47, 46, and 20 (TX 562, 561 and 509). The jury found that
                       Mattel owns the drawing in question. See Hutnyan Decl. Ex. 1 (Phase 1(a) Jury
                       Verdict) at TX 3-0013.
                             87.    Attached as Exhibit 48 is true and correct copy of MGA's copyright
                    7 registration VA 1-090-290, which is TX 563.
                             88.    Attached as Exhibit 49 is true and correct copy of MGA's Form CA 1-
                       301-536, which is TX 564.
                             89.    MGA represented to the U.S. Copyright Office that the original Bratz
                       Yasmin doll was a derivative of one of Bryant's original Bratz Yasmin drawings.
                       See Hutnyan Deci. Exhs. 49, 48, and 66 (TX 564, 563 and 511). The jury found that
                       Mattel owns the drawing in question. See Hutnyan Decl. Ex. 1 (Phase 1(a) Jury
                       Verdict) at TX 3-0003.
                             90.    Attached as Exhibit 50 is true and correct copy of MGA's copyright
                       registration VA 1-090-287, which is TX 557.
                             91.    Attached as Exhibit 51 is true and correct copy of MGA's Form CA 1-
                       301-533, which is TX 558.
                             92.   MGA represented to the U.S. Copyright Office that the original Bratz
                       Jade doll was a derivative of one of Bryant's original Bratz Jade drawings. See
                       Hutnyan Decl. Ex. 51, 50, and 18 (TX 558, 557 and 505). The jury found that
                       Mattel owns the drawing in question. See Hutnyan Decl. Ex. 1 (Phase 1(a) Verdict
                       Form) at TX 3-0009.
                             93.   Attached as Exhibit 52 is true and correct copy of MGA's copyright
                       registration VA 1-090-288, which is TX 559.
                             94.   Attached as Exhibit 53 is true and correct copy of MGA's Form CA 1-
                  27 301-534, which is TX 560.
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                                  95.    MGA represented to the U.S. Copyright Office that the original Bratz
                            Sasha doll was a derivative of one of Bryant's original Bratz Sasha drawings. See
                            Hutnyan Decl. Ex. 53, 52, and 19 (TX 560, 559 and 507). The jury found that
                            Mattel owns the drawing in question. See Hutnyan Decl. Ex. 1 (Phase 1(a) Verdict
                            Form) at TX 3-0005.
                                               MGA's Depictions of the Bratz Characters
                                        Conceived by Bryant Also Infringe Mattel's Copyrights
                                  96.   Attached as Exhibit 54 is a true and correct copy of slide 30.20, which
                           was used in Mattel's phase 1 B opening statement. This slide shows that the "Jade"
                           doll released by MGA in 2001 includes recognizable traits of the "Jade" character
                           created by Bryant, including, among other things, the character's cat mascot.
                                  97.   Attached as Exhibit 55 is a true and correct copy of slide 30.23, which
                           was used in Mattel's phase 1B opening statement. This slide shows that the
                           "Yasmin" doll released by MGA in 2001 includes recognizable traits of the "Lupe"
                           character created by Bryant, including, among other things, the character's princess
                           mascot.
                                  98.   Attached as Exhibit 56 is a true and correct copy of slide 30.25, which
                           was used in Mattel's phase 1 B opening statement. This slide shows that the "Cloe"
                           doll released by MGA in 2001 includes recognizable traits of the "Zoe" character
                           created by Bryant, including, among other things, the character's angel mascot.
                                 99.    Attached as Exhibit 57 is a true and correct copy of slide 30.26, which
                           was used in Mattel's phase 1 B opening statement. This slide shows that the "Sasha"
                           doll released by MGA in 2001 includes recognizable traits of the
                           "Hallidae" character created by Bryant, including, among other things, the
                           character's bunny mascot.
                                  100. Attached as Exhibit 58 is a true and correct copy of slide 34.1, which
                           was used in Mattel's phase 1 B opening statement. This slide shows a comparison


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                    1 between the "Jade" doll head released by MGA in 2001 and the "Jade" doll heads
                    2 released in 2002-2005.
                              101. Attached as Exhibit 59 is a true and correct copy of slide 34.2, which
                       was used in MatteI's phase 1 B opening statement. This slide shows a comparison
                       between the "Jade" doll head released by MGA in 2001 and the "Jade" doll heads
                       released in 2006-2008.
                              102. Attached as Exhibit 60 is a true and correct copy of a photograph of a
                       Bratz backpack.
                              103. Attached as Exhibit 61 is a true and correct copy of a photograph of a
                       Bratz toothbrush.
                              104. Attached as Exhibit 134 is a true and correct copy of TX 14632.
                              105. Attached as Exhibit 135 is a true and correct copy of TX 14633.
                              106. Attached as Exhibit 136 is a true and correct copy of TX 302.
                              107. Attached as Exhibit 137 is a true and correct copy of TX 1107.
                              108. Attached as Exhibit 138 is a true and correct copy of TX 13975.
                              109. Attached as Exhibit 139 is a true and correct copy of TX 13977.
                             110. Attached as Exhibit 140 is a true and correct copy of TX 13978.
                             111. Attached as Exhibit 141 is a true and correct copy of TX 13976.
                             112. Attached as Exhibit 149 is a true and correct copy of TX 5-043.
                                 MGA's Bratz-Based Licensing Infringes Mattel's Copyrights
                             113. MGA has over 784 license agreements covering a wide range of Bratz
                       products including clothing, jewelry, bedding, home furnishing, stationery,
                       toiletries, video games, footwear, napkins, and electrical appliances. See Hutnyan
                       Decl. Ex. 14 (TX 13691); See also Hutnyan Decl. Ex. 5 (TX 660).
                             114. Attached as Exhibit 62 is a true and correct copy of TX 630, an e-mail
                       from Isaac Larian to Isaac Larian and Bonnie Blume, dated June 30, 2003. In this e-
                  27 mail, Mr. Larian states that MGA made a "conscious decision" to become a licensor
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                        with Bratz. See Hutnyan Decl. Ex. 62 (TX 630). Mr. Larian also states that MGA
                        had never licensed any products prior to Bratz. See Hutnyan Decl. Ex. 62 (TX 630).
                               115. At trial Larian testified that MGA's licensing success is driven by and
                        contingent upon the success of the Bratz dolls. See Trial Tr. at 6176:16--19 ("Q:
                        The idea was to leverage the idea of the popularity of the Bratz dolls so you can sell
                        the Bratz dolls. A: To leverage the Bratz brand in order to sell Bratz pets and other
                        products. It's all about branding, sir."); see also Trial Tr. (Larian) 6170:4-15 (Q:
                        My question is a little more specific. If the Bratz dolls aren't selling through at
                        retail, no one is going to be interested in licensing a bicycle helmet that has Bratz on
                        it; right? ... THE WITNESS: Again, the Bratz brand started with four dolls. The
                        four dolls had to sell with marketing and advertising to establish the brand, and then
                       once the brand became successful, we were able to license it, and that's how the
                       licensing business works."). Larian also said in an e-mail interview that the success
                       of Bratz licensed goods depended on the customer goodwill for Bratz Products. See
                       also Hutnyan Decl. Ex. 62 (TX 630) ("the kids today are very brand conscious and if
                       you have a property like Bratz they will buy the goods as long as they are getting the
                       quality they have come to expect from the brand."). As MGA acknowledged in its
                       March 2001 Business Plan, the "only risk involved" with the licensing program "is
                       that the Bratz dolls do not sell-through at retail." See Hutnyan Decl. Ex. 13 (TX
                       13520) at 16.
                              116. Attached as Exhibit 63 is a true and correct copy of TX 13239, a
                       memorandum from Ian McLagan at Alliance Consulting Group to Dee Dee
                       Valencia and Shirin Salemnia at MGA, dated July 10, 2003. According to this
                       memorandum, the success of licensed goods has depended upon the key Bratz doll
                       attributes, which had to be "mirrored in any brand extensions."
                              117. Further, consumers purchase licensed goods based upon their
                       experience with the Bratz dolls themselves. Thus, for licensing to succeed, MGA
                       said that "[the Bratz should be treated as a long term brand with future line
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                        extensions.... To be effective, other licensed products depend on the presence of
                        our Bratz." See Hutnyan Decl. Ex. 13 (TX 13520) at 18.
                              118. Attached as Exhibit 64 is a true and correct copy of TX 13761, a
                        Hollywood Reporter article entitled "What's Up With Bratz?," dated June 2005.
                        Larian has said licensing should be part of the long term growth plan of any
                        company, but "you need the right property to be able to do it." See Hutnyan Decl.
                    7 Ex. 64 (TX 13 761) at 2.
                    8         119. Attached as Exhibit 65 is a true and correct copy of MGA's copyright
                        registration VA 1-340-165, which is TX 567.
                              120. Attached as Exhibit 67 is a true and correct copy of MGA's copyright
                        registration VA 1-340-167, which is TX 568.
                              121. Attached as Exhibit 68 is a true and correct copy of MGA's copyright
                        registration VA 1-340-168, which is TX 569.
                              122. Attached as Exhibit 69 is a true and correct copy of MGA's copyright
                        registration VA 1-340-169, which is TX 570.
                              123. Attached as Exhibit 70 is a true and correct copy of MGA's copyright
                        registration VA 1-340-170, which is TX 571.
                   18         124. Attached as Exhibit 71 is a true and correct copy of MGA's copyright
                   19 registration VA 1-334-487, which is TX 572.
                              125. Attached as Exhibit 72 is a true and correct copy of MGA's copyright
                        registration VA 1-334-488, which is TX 573.
                              126. Attached as Exhibit 73 is a true and correct copy of MLA's Form CA
                        1-301-529, which is TX 506.
                              127. Attached as Exhibit 74 is a true and correct copy of MGA's Form CA
                        1-301-530, which is TX 508.
                              128. Attached as Exhibit 75 is a true and correct copy of MGA's Form CA
                  27 1-301-531, which is TX 510.
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                                    129. Attached as Exhibit 76 is a true and correct copy of MGA's Form CA
                             1-301-532, which is TX 512.
                                    130. MGA requires licensed products to conform to the Bratz dolls and
                             provides style guides that licensees must follow "in connection with the use of
                             Bratz" on licensed product. See Trial Tr. (Armstrong) 6655:3-13. MGA has
                             registered copyrights of many of these style guides with the U.S. Copyright Office
                          7 and represented that the style guides are derivative of "preexisting artwork
                             including" certain original Bryant drawings that the jury has found that Mattel owns.
                             See Hutnyan Decl. Ex. 17 (TX 574), Ex. 18 (TX 505), Ex. 19 (TX 507), Ex. 20 (TX
                             509), Ex. 21 (TX 513), Ex. 22 (TX 511), Ex. 65 (TX 567), Ex. 67 (TX 568), Ex. 68
                             (TX 569), Ex. 69 (TX 570), Ex. 70 (TX 571), Ex. 71 (TX 572), Ex. 72 (TX 573),
                             Ex. 73 (TX 506), Ex. 74 (TX 508), Ex. 75 (TX 510), Ex. 76 (TX 512); see also
                             Hutnyan Decl. Ex. 1 at 1-4 (Phase 1(a) Verdict). Bryant Armstrong, MGA's
                             designee with respect to statements it made in its copyright applications, stated that
                             these style guides are based upon the original Bratz drawings. See Trial Tr.
                             (Armstrong) 6654:4-7.
                                    131. According to MGA, the purpose of the style guides and similarities is
                             to tie the licensed products to the Bratz brand. Trial Tr. (Larian) 6173:1-24. ("Q:
                             And when you are developing something like that, one of the things you're trying to
                             do is connect that extension, line extension, to the Bratz dolls; right? A: The
                             execution of it, yes. For all the brand to basically mesh together, yes ... Q: And
                             this is an example of tying kind of an unrelated product back to the core of the
                             brand, which are the Bratz dolls. A: Again, it has to all -- it's mixed together. It's
                             like Nike. When you buy the shoes, the shirt has -- they all -- a shirt doesn't look
                             like a shoe, but as a brand, they all mesh together.").
                                    132. According to evidence produced by MGA in this case, Bratz licensed
                             products have been successful. See Hutnyan Decl. Ex, 62 (TX 630) at 2 ("Bratz
                             licensed products are some of the hottest sought after products out there.").
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                          According to MGA's calculations, it had a $38.8-million licensing business as of
                          2004, including a substantial number of manufacturers producing Bratz products.
                          See infra Hutnyan Decl. Ex. 79 (TX 3645) at 2.
                                133. MGA has stated that "cheap imitations also affect the value of license
                         fees and such loss is irreparable and unquantifiable." See Hutnyan Decl. Ex. 56 (TX
                         941) at 15.
                                134. Attached as Exhibit 147 is a true and correct copy of MGA's Domestic
                         Licensing - Payment Log dated June 30, 2007, which is TX 1709A.
                                135. Attached as Exhibit 148 is a true and correct copy of the Office Contact
                         Information from MGA Entertainment's Website.
                                                       Derivative Bratz Products
                                136. Attached as Exhibit 77 is a true and correct copy of excerpts from the
                         deposition testimony of Lisa Tonnu, dated September 24, 2007.
                                137. Attached as Exhibit 78 is true and correct copy of the affirmation of
                         Lee Shiu Cheung in Cityworld, dated June 18, 2002, which is TX 941.
                                138. Attached as Exhibit 79 is a true and correct copy of TX 3645, MGA's
                         Five Year Plan Strategic Outline, dated May 20, 2004.
                                139. MGA's Bratz Petz line alone is a $20-million-a-year business and its
                         Bratz fashion accessory business $40 million a year, according to MGA's internal
                         numbers. See Hutnyan Decl. Ex. 79 (TX 3645) at 2, 9. In addition to these product
                         lines, MGA also receives revenue from Bratz DVD and TV syndication, music
                         sales, and theatrical productions. According to evidence presented in this case, there
                         is. a wide variety of around 10,000 Bratz products that extends from dolls to
                         accessories to sporting goods to electronics. See Hutnyan Decl. Ex. 5 (TX 660); see
                         also Hutnyan Decl. Ex. 54 (Dep. of Lisa Tonnu) at 381:16-382:1.
                                140. Mr Larian testified that MGA's success in these derivative markets is
                         due to the base success of the infringing Bratz doll. See Trial Tr. (Larian) at
                         6176:16-19 ("Q: The idea was to leverage the idea of the popularity of the Bratz
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                       dolls so you can sell the Bratz dolls --A: To leverage the Bratz brand in order to sell
                       Bratz pets and other products. It's all about branding, sir."); see also Trial Tr.
                       (Larian) at 6170:4-15 (Q: My question is a little more specific. If the Bratz dolls
                       aren't selling through at retail, no one is going to be interested in licensing a bicycle
                       helmet that has Bratz on it; right? ... THE WITNESS: Again, the Bratz brand
                       started with four dolls. The four dolls had to sell with marketing and advertising to
                    7 establish the brand, and then once the brand became successful, we were able to
                       license it, and that's how the licensing business works.").
                                MGA's Bratz-Based Advertising Infringe Mattel's Copyrights
                              141. Attached as Exhibit 80 are true and correct copies of MGA Bratz print
                       advertisements identif ed by Bates Nos. MGA0031330-332, MGA0147523,
                      MGA0184581, MGA0184592, MGA0203974, MGA066857, MGA1255291,
                      MGA1538647, MGA2684712, MGA2896769, MGA2905375, MGA2909529,
                      MGA2924287-290, and MGA2972766.
                              142. Attached as Exhibit 81 are true and correct copies of screenshots from
                      Bratz television commercials identified by Bates Nos. MGBZ3263, MGBZ4335,
                      MGBZ4355, MGBZ52I3, MGBZ4013, MGBZ4025, and MGBZ4035. Mattel has
                      concurrently lodged herewith CD's containing the Bratz television commercials
                      identified by bates MGBZ3263, MGBZ4335, MGBZ4355, MGBZ52I3,
                      MGBZ4013, MGBZ4025, and MGBZ4035.
                              143. MGA's advertising of Bratz relies primarily on images of the infringing
                      dolls. Depictions of the dolls figure prominently in MGA's print and television
                      advertising. See, e.g., Hutnyan Decl. Ex. 80 at MGA0147532, MGA0031331. The
                      advertisements depict the characteristic features of Bratz - large eyes, accentuated
                      lips and eyebrows, disproportionately small noses and bodies. See, e.g., Hutnyan
                      Decl. Ex. 80 at MGA0031330, MGA031332, and MGA0066857.
                             144. Some of the advertisements consist only of a photograph of an actual
                      doll or dolls and their features. See, e.g., Hutnyan Decl. Ex. 80 at MGA0031330,
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                       MGA0031331, MGA0031332; Hutnyan Decl. Ex. 80 at MGA0203974 and
                       MGA2684712.

                                        MGA's Packaging Infringes Mattel's Copyrights
                              145. Attached as Exhibit 82 is a true and correct copy of excerpts from the
                       deposition testimony of Samir Khare, dated January 25, 2008.
                              146. Attached as Exhibit 129 is a true and correct copy of slide 14D, which
                    7 was used in Mattel's phase 1(b) closing argument.
                              147. Attached as Exhibit 130 is a true and correct copy of a photograph of
                       an original Cloe doll released in 2001, which is TX 12286.
                              148. Attached as Exhibit 131 is a true and correct copy of TX 3-001, a
                       Carter Bryant drawing of the original four Bratz characters.
                                                   Irreparable Harm to Mattel
                              149. Mr. Larian declared publicly during trial that MGA would continue to
                       produce Bratz products despite the jury verdict: "Under no circumstance will Mattel
                       be able to assert ownership of the Bratz franchise -- which will always belong to
                       MGA.    Our customers, retailers, vendors, and suppliers can take comfort knowing
                       there will be no disruption in MGA's manufacture and sales of Bratz dolls or any
                       other products." Attached as Exhibit 83 is a true and correct copy of an ABC News
                       article entitled "Mattel Prevails in Bratz Copyright Trial," written by Gina Keating,
                       dated July 17, 2008.
                              150. Attached as Exhibit 84 is a true and correct copy of the Declaration of
                       Isaac Larian in support of MGA's Petition for Writ of Mandamus in In re MGA
                       Entm't, in the Ninth Circuit Court of Appeals, Case No. 08-73438.
                              151. Attached as Exhibit 85 is a true and correct copy of MGA's Petition for
                       Writ of Mandamus in In re MGA Entm't, in the Ninth Circuit Court of Appeals,
                       Case No. 08-73438.
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                             152. Attached as Exhibit 86 is a true and correct copy of MGA's Emergency
                       Motion Under Circuit Rule 27-3 in In re MGA Entm't, in the Ninth Circuit Court of
                       Appeals, Case No. 08-73438.
                             153. Mr. Larian has stated that MGA




                       See Hutnyan Decl. Ex 84 (Larian Decl,) at ¶ 4; Hutnyan Decl. Ex. 85 (Pet. for Writ
                      of Mandamus) at 6. MGA has maintained that the


                                                                                           See Hutnyan
                      Decl. Ex. 85 (Pet. for Writ of Mandamus) at 34. MGA also said that it




                                                                                                   See
                      Hutnyan Decl. Ex. 86 (Emergency Motion Under Circuit Rule 27-3) at 2. MGA
                      said that these statements were
                                                   See Hutnyan Decl. Ex. 85 (Pet. for Writ of Mandamus)
                      at 34, 36.
                             154. Attached as Exhibit 87 is a true and correct copy of a letter from
                      Thomas M. Cambern, Managing Director of Wachovia Securities, to MGA, dated
                      July 21, 2008, which is identified by Bates No. MGA 3896745-46.
                             155. Attached as Exhibit 88 is a true and correct copy of a letter from
                      Thomas M. Cambern, Managing Director of Wachovia Securities, to MGA, dated
                      July 21, 2008, which is identified by Bates No. MGA 3896747-48.
                             156. Attached as Exhibit 89 is a true and correct copy of a letter from
                      Thomas M. Cambern, Managing Director of Wachovia Securities, to MGA, dated
                      July 21, 2008, which is identif ed by Bates No. MGA 3896749-50.


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                   1          157.
                   2                                           See Hutnyan Decl. Ex. 87-89.
                   3
                   4
                                                                        See Hutnyan Decl. Ex. 87-89.
                              158. Attached as Exhibit 128 is a true and correct copy of the Factivia article
                       entitled "Barbie's midlife crisis," dated May 14, 2004.
                              159. Attached as Exhibit 90 is a true and correct copy of the transcript of
                       ABC Nightline, dated December 22, 2006.
                              160. Attached as Exhibit 91 is a true and correct copy of an email from Isaac
                       Larian to Simon Gardner and Mel Woods, dated May 30, 2005 that discusses a
                       proposed deal with Hasbro. The document is identified by Bates No.
                       MGA0188423-24.
                              161. Attached as Exhibit 92 is a true and correct copy of the Yahoo! Finance
                       article entitled "With Bratz, a toymaker's dreams come true," written by Jan Paschal
                       and dated February 14, 2002.
                              162. Attached as Exhibit 93 is a true and correct copy of the Los Angeles
                       Times article entitled "Bratz Dolls' Maker Play to Win in Battle with Barbie,"
                       written by Melinda Fulmer and dated August 1, 2005.
                             163. Attached as Exhibit 94 is a true and correct copy of an email from
                       Rosie Bayles to Isaac Larian, dated March 21, 2002 that discusses Bratz market
                       share. The document is identified by Bates Nos. MGA0190236-42.
                             164. MGA has stated that infringing Bratz products take market share from
                       Mattel. Isaac Larian has said "our growth is coming at the expense of other toy
                       companies like Mattel" and that Mattel's loss of market share is due to Bratz. See
                       Hutnyan Decl. Ex. 62 (TX 630) at 2; Hutnyan Decl. Ex. 128 (Factivia article)
                       ("MGA's Larian is keen to state ... 'I can tell you that Bratz awareness and market
                       share are growing by double and triple digits in every country worldwide while
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                        [Mattel is] losing market share."); Hutnyan Decl. Ex. 90. Larian noted that "With
                        10 SKU Bratz has 20% of the USA fashion doll market. And, the best is yet to
                        come for this fall and 2004. With 600 SKU Barbie has 60% of the market share and
                        declining." See Hutnyan Decl. Ex. 91 at 1 (MGA 0188423). In Ninth Circuit
                        filings, MGA also stated that "MGA introduced the Bratz dolls in early 2001 and
                        they soon began eroding Mattel's substantial market share in fashion dolls." See
                        Hutnyan Decl. Ex. 86 (Emergency Motion Under Circuit Rule 27-3) at 3; Hutnyan
                        Deci. Ex. 85 (Pet. for Writ of Mandamus) at 8.
                               165. According to MGA, it designed the Bratz doll to take market share
                        from Mattel. MGA's Public Relations Director, Dave Malacrida, has testified that
                        the Bratz dolls were designed "to take market share away from Barbie, Mattel Inc.'s
                        best selling product." See Hutnyan Decl. Ex. 92 (Paschal article) at Bates No. MGA
                        0142815; see also Hutnyan Decl. Ex. 93 (Fulmer article) at Bates No. NPD00127
                        ("For Larian the numbers are sweet vindication ...'I'm very competitive ... I want
                        to be No.1 - I don't want to be No. 2."'). See Hutnyan Decl. Ex. 92 at 3 (Bates No.
                        MGA 0190238) ("What is Barbie's market share in UK? We want 50% of that for
                        2002 (and the rest in 2003 ! ). ").
                               166. According to MGA, it leveraged the Bratz dolls into derivative
                        markets. See Trial Tr. (Larian) at 6176:16-19 ("Q: The idea was to leverage the
                        idea of the popularity of the Bratz dolls so you can sell the Bratz dolls --A: To
                        leverage the Bratz brand in order to sell Bratz pets and other products. It's all about
                        branding, sir."); see also Trial Tr. (Larian) at 6168:11-14 (Q: And the core, the core
                        of the Bratz brand, what you are leveraging off of here, is the dolls; right? A: No,
                        we are leveraging the Bratz brand. The Bratz brand was launched with four dolls in
                        2001."); Hutnyan Decl. Ex. 79 (TX 3645) at 8 (noting strategy was to "leverage
                        Bratz Brand" to "$100 million by 2008").


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                               167. According to MGA, customer goodwill associated with infringing
                        Bratz dolls is currently in decline, as evidenced by falling sales. See Hutnyan Decl.
                        Ex. 6 (Nicholas article).
                               168. Attached as Exhibit 144 is a true and correct copy of the Affirmation of
                        Lee Shiu Cheung, dated June 18, 2003, which is TX 952.
                               169. Attached as Exhibit 145 is a true and correct copy of TX 18819.
                    7                         Mattel's Bratz Copyright Registrations
                               170. Attached as Exhibit 95 is a true and correct copy of Mattel's copyright
                        registration VAu 751-271, which is TX 13887.
                               171. Attached as Exhibit 96 is a true and correct copy of Mattel's copyright
                        registration VAu 715-273, which is TX 13888.
                               172. Attached as Exhibit 97 is a true and correct copy of Mattel's copyright
                        registration VA 1-378-648, which is TX 13873.
                              173. Attached as Exhibit 98 is a true and correct copy of Mattel's copyright
                        registration VA 1-378-649, which is TX 13 874.
                              174. Attached as Exhibit 99 is a true and correct copy of Mattel's copyright
                        registration VA 1-378-650, which is TX 13875.
                              175. Attached as Exhibit 100 is a true and correct copy of Mattel's copyright
                        registration VA 1-378-651, which is TX 13876.
                              176. Attached as Exhibit 101 is a true and correct copy of Mattel's copyright
                        registration VA 1-378-652, which is TX 13877,
                              177. Attached as Exhibit 102 is a true and correct copy of Mattel's copyright
                        registration VA 1-378-653, which is TX 13878.
                              178. Attached as Exhibit 103 is a true and correct copy of Mattel's copyright
                        registration VA 1-378-654, which is TX 13879.
                              179. Attached as Exhibit 104 is a true and correct copy of Mattel's copyright
                        registration VA 1-378-655, which is TX 13880.


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                    1         180. Attached as Exhibit 105 is a true and correct copy of Mattel's copyright
                    2 registration VA 1-378-656, which is TX 13881.
                              181. Attached as Exhibit 106 is a true and correct copy of Mattel's copyright
                        registration VA 1-378-657, which is TX 13882.
                              182. Attached as Exhibit 107 is a true and correct copy of Mattel's copyright
                        registration VA 1-378-658, which is TX 13883.
                              183. Attached as Exhibit 108 is a true and correct copy of Mattel's copyright
                        registration VA 1-378-659, which is TX 13884.
                              184. Attached as Exhibit 109 is a true and correct copy of Mattel's copyright
                        registration VA 1-378-660, which is TX 13885.
                              185. Attached as Exhibit 110 is a true and correct copy of Mattel's copyright
                        registration VAu 715-270, which is TX 13886.
                              186. Attached as Exhibit 111 is a true and correct copy of Mattel's copyright
                        registration VAu 960-439, which is TX 13889.
                              187. Attached as Exhibit 112 is a true and correct copy of Mattel's copyright
                        registration VAu 964-304, which is TX 13890.
                              188. Attached as Exhibit 113 is a true and correct copy of Mattel's copyright
                        registration VAu 964-306, which is TX 13891.
                              189. Attached as Exhibit 114 is a true and correct copy of Mattel's copyright
                        registration VAu 964-308, which is TX 13892.
                              190. Attached as Exhibit 115 is a true and correct copy of Mattel's copyright
                  22 registration VAu 964-309, which is TX 13893.
                  23          191. Attached as Exhibit 116 is a true and correct copy of Mattel 's copyright
                  24 registration VAu 964-310, which is TX 13894.
                  25          192. Attached as Exhibit 117 is a true and correct copy of Mattel's copyright
                  26 registration VAu 964-311, which is TX 13895.
                  27          193. Attached as Exhibit 118 is a true and correct copy of MatteI's copyright
                  28 registration VAu 964-315, which is TX 13896.
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                    1          194. Attached as Exhibit 119 is a true and correct copy of Mattel's copyright
                        registration VAu 964-318, which is TX 13897.
                               195. Attached as Exhibit 120 is a true and correct copy of Mattel's copyright
                        registration VAu 964-319, which is TX 13898.
                               196. Attached as Exhibit 121 is a true and correct copy of Mattel's copyright
                        registration VAu 964-320, which is TX 13899.
                               197. Attached as Exhibit 122 is a true and correct copy of Mattel's copyright
                        registration VAu 964-321, which is TX 13900.
                                   MGA's Discovery Abuses and the Need for a Special Master
                               198. Attached as Exhibit 123 is a true and correct copy of the transcript of a
                        redacted side bar conference, dated June 5, 2008.
                               199. Attached as Exhibit 124 is a true and correct copy of a Los Angeles
                        Times article written by David Colker, entitled Timing Is Key in Mattel Suit Against
                        Bratz, dated June 6, 2008.
                              200. Attached as Exhibit 125 is a true and correct copy of an email sent by
                        Lauren Aguiar to Michael Zeller, dated August 21, 2008 relating to the posting of a
                        sealed letter on MGA's website.
                              201. Attached as Exhibit 126 is a true and correct copy of a letter sent from
                        Laura Heffley to Timothy Alger, dated June 12, 2007 certifying the distribution of a
                        privileged log that Mattel inadvertently produced and clawed back.
                              202. Attached as Exhibit 127 is a true and correct copy of a Wall Street
                        Journal article, written by Nicholas Casey, entitled Barbie's Revenge, Brawl over
                        Doll is Heading to Trial, dated May 23, 2008. The contents of the privileged log
                        attached in Exhibit 126 above were summarized in this article even though all
                        copies of the log were certified as being destroyed.
                              203. Attached as Exhibit 142 is a true and correct copy of Mattel, Inc.'s
                        Opposition to MGA Parties' Motion for Limited Discovery, and Cross-Motion for
                        Issue Preclusion, dated June 16, 2008.
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                          204. Attached as Exhibit 143 is a true and correct copy of the Order
                    Granting in Part Mattel's Motion to Enforce the Court's Order of May 16, 2007, t.o
                   Compel MGA to Produce Witnesses for Deposition Pursuant to Rule 30(b)(6), and
                   Granting Request for Sanctions.
                          I declare under penalty of perjury under the laws of the United States of
                   America that the foregoing is true and correct.
                         Executed on September 29, 2008, at Los Angeles, California.




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